                Case 1-22-42314-nhl               Doc 2       Filed 09/21/22     Entered 09/21/22 16:47:24



UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
        ---------------------------------------------X               Chapter     11
IN RE:  The Muse Brooklyn, Inc
                                                                     Case No.:

                                Debtor(s)                            STATEMENT PURSUANT TO LOCAL RULE 2017
            ---------------------------------------------X

I, Ronald D. Weiss 4419, an attorney admitted to practice in this Court, state:

1. That I am the attorney for the above-named debtor(s) and am fully familiar with the facts herein.

2. That prior to the filing of the petition herein, my firm rendered the following services to the
   above-named debtor(s):




                           Date\Time                         Services

                                                             Initial interview, analysis of financial
                                                             condition, etc.

                                                             Preparation and review of
                                                             Bankruptcy petition

3. That my firm will also represent the debtor(s) at the first meeting of creditors.

4. That all services rendered prior to the filing of the petition herein were rendered by my firm.

5. That my usual rate of compensation of bankruptcy matters of this type is $                           16,373.00   .

Dated: September 21, 2022
                                                        /s/ Ronald D. Weiss
                                                        Ronald D. Weiss 4419
                                                        Attorney for debtor(s)
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